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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
AYMAN SALEH, et al.,                 )
                                     )
                   Plaintiffs,       )
                                     )
       v.                            )   Civil Action No. 20-1168 (ABJ)
                                     )
KHALIFA BIN                          )
ZAYED AL NAHYAN                      )
President, et al.,                   )
                                     )
                   Defendants.       )
____________________________________)


                                        ORDER

      Pursuant to Federal Rule of Civil Procedure 58 and for the reasons stated in the

accompanying Memorandum Opinion, it is hereby ORDERED that defendant DarkMatter’s

motion to dismiss, [Dkt. # 17], is GRANTED.




                                         _______________________
                                         AMY BERMAN JACKSON
                                         United States District Judge

DATE: September 22, 2021
